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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS                      ZUIflAUG28    P1 2:02
                                   AUSTIN DIVISION

UMG RECORDINGS, INC., CAPITOL
RECORDS, LLC, WARNER BROS.
RECORDS INC., SONY MUSIC
ENTERTAINMENT, ARISTA
RECORDS LLC, ARISTA MUSIC,
ATLANTIC RECORDING
CORPORATION, CAPITOL
CHRISTIAN MUSIC GROUP, INC.,
ELEKTRA ENTERTAINMENT GROUP
INC., FONOVISA, INC., FUELED BY
RAMEN LLC, LAFACE RECORDS
LLC, NONESUCH RECORDS INC.,
RHINO RECORDS, INC., ROC-A-
FELLA RECORDS, LLC, TOOTH &
NAIL, LLC, ZOMBA RECORDING LLC,
                  PLAINTIFFS,

                                                              CAUSE NO. A-17-CV-365-LY

GRANDE COMMUNICATIONS
NETWORKS LLC, AND PATRIOT
MEDIA CONSULTING, LLC,
               DEFENDANTS


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        Before the court in the above styled and numbered action are Defendant Grande

Communications Networks LLC's Unopposed Motions for Leave to File Under Seal Exhibits to

Grande's Response in Opposition to Plaintiffs' Motion for Summary Judgment filed August 22,

2018 and August 23, 2018 (Clerk's Document Nos. 144 & 147). Counsel for Grande informed the

court's staffthat Document No. 147 is an amended version of Document No. 144. The court having

reviewed these motions and the case file, and considering the representation of Grande' s counsel to

the court's staff,
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       IT IS ORDERED that Defendant Grande Communications Networks LLC's Unopposed

Motion for Leave to File Under Seal Exhibits to Grande' s Response in Opposition to Plaintiffs'

Motion for Summary Judgment filed August22, 2018 (Clerk's Document No. 144) is DISMISSED.

Defendant Grande Communications Networks LLC' s Unopposed Motion for Leave to File Under

Seal Exhibits to Grande' s Response in Opposition to Plaintiffs' Motion for Summary Judgment filed

August 23, 2018 (Clerk's Document No. 147) remains pending before the court.

       SIGNED this                day of August, 2018.




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